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  8                                     UNITED STATES DISTRICT COURT
  9                                    CENTRAL DISTRICT OF CALIFORNIA
 10
      SARA GLADNEY,                 )
 11                                 )                    Case No: 2-12-cv-07952-GAF (CWx)
                                    )
 12                Plaintiff,       )                    ORDER RE: STIPULATION RE:
                                    )                    DISMISSAL WITH PREJUDICE
 13                                 )                    PURSUANT TO FRCP
             vs.                    )                    41(a)(1)(A)(ii)
 14                                 )
      MIDLAND CREDIT                )
 15                                 )
      MANAGEMENT, INC., and DOES 1- )
 16   10, inclusive,                )
                                    )
 17                                 )
                   Defendants.      )
 18                                 )
                                    )
 19
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 21
                   The Court has reviewed the Stipulation of Plaintiff SARA GLADNEY
 22
      ("Plaintiff") and Defendant MIDLAND CREDIT MANAGEMENT, INC., to
 23
      dismiss the above-entitled action, with prejudice, in its entirety. Pursuant to the
 24
      Joint Motion between the parties, the Court orders as follows:
 25
      ///
 26
      ///
 27 / / /
 28
      {Gladney Order Re Dismissal;1}                             [PROPOSED] ORDER RE: DISMISSAL
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 1                That the above-entitled lawsuit is hereby dismissed, with prejudice,
 2   pursuant to FRCP 41(a)(1)(A)(ii).
 3
 4                IT IS SO ORDERED.
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 6   Dated: April 3, 2014
 7                                                UNITED DISTRICT COURT JUDGE
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     {Gladney Order Re Dismissal;1}              2
